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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
           Plaintiff,                             )
                                                  )
     vs.                                          )          Case No. 4:06CR8HEA(AGF)
                                                  )
ELIZABETH HARRIS,                                 )
                                                  )
           Defendant.                             )


                                             ORDER

                  This matter is before the court on Defendant’s Motion to Reconsider Order of

Detention. [Doc. 34]

       The court has carefully reconsidered the Pretrial Services Report, the Order of Detention and

has considered the matters raised in defendant’s Motion. Defendant has not rebutted the

presumption of detention. The court finds that the Order of Detention shall remain in full force and

effect. However, the court will advise the Marshals Service of defendant’s health concerns and will

suggest she be confined at the St. Louis County Justice Center or a similar facility where there may

be more appropriate medical care.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion to Reconsider Order of Detention

is DENIED. [Doc. 34]

       It is requested that the Marshals Service, if possible, confine defendant in the St. Louis

County Justice Center or a facility where she can receive appropriate medical care.



                                                  /s/Mary Ann L. Medler
                                                  MARY ANN L. MEDLER
                                                  UNITED STATES MAGISTRATE JUDGE



Dated this      9th     day of February, 2006.
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